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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                  )
                                               )
              Plaintiffs,                      )
                                               )
vs.                                            )
                                               )
GRANDE COMMUNICATIONS                                  No. 1:17-cv-00365-DAE-AWA
                                               )
NETWORKS LLC,                                  )
                                               )
              Defendant.
                                               )
                                               )
                                               )

       ORDER GRANTING AGREED JOINT MOTION TO EXTEND PRETRIAL
                            DEADLINES

       Having considered the Plaintiffs’ and Defendant’s (together, the “Parties”) Agreed Joint

Motion to Extend Pretrial Deadlines (Dkt. 360), the Court finds good cause that the Motion

should be GRANTED.

       IT IS THEREFORE ORDERED that the pretrial deadlines set forth in the Court’s

April 8, 2020 Order Regarding Motions in Limine (Dkt. 347) and May 8, 2020 Amended Order

Resetting Jury Trial and Related Deadlines (Dkt. 352) are hereby VACATED, and the due dates

for the Parties’ pretrial submissions shall be EXTENDED as reflected in the Parties’ Agreed

Joint Motion to Extend Pretrial Deadlines (Dkt. 360) and as reproduced below.



                  DEADLINE                                              EVENT

August 28, 2020                                    Plaintiffs to circulate a draft joint set of jury

                                                   instructions to Defendant.

September 4, 2020                                  Last day for Parties to meet and confer on draft



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                                                       joint jury instructions.1

September 9, 2020                                      Parties to exchange:

                                                           (i)     any amendments to original set of

                                                                   deposition designations; and

                                                           (ii)    updated exhibit lists.

September 16, 2020                                     Parties to exchange:

                                                           (i)     any objections to amended

                                                                   deposition designations; and

                                                           (i)     any objections to updated exhibit

                                                                   lists.

September 23, 2020                                     Last day for Parties to meet and confer on:

                                                           (i)     amended deposition designations

                                                                   and objections thereto; and

                                                           (ii)    updated exhibit lists and objections

                                                                   thereto.

September 30, 2020                                     Plaintiffs and Defendant each file their package

                                                       of pre-trial submission and objections to pre-

                                                       trial submissions identified in the Court’s May

                                                       8, 2020 Amended Order Resetting Jury Trial

                                                       and Related Deadlines (Dkt. 352), except that

                                                       Plaintiffs will be responsible for submitting the




1 Plaintiffs will prepare a finalized joint set of jury instructions shortly thereafter based on results
of the meet and confer.


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                                       joint set of jury instruction in the form required

                                       by the Court’s April 8, 2020 Order (Dkt. 347).



So ORDERED this ___ day of August, 2020.



                                         ____________________________________
                                         DAVID A. EZRA
                                         SENIOR U.S. DISTRICT JUDGE




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